                         Case 1-20-43683-ess               Doc 1        Filed 10/21/20           Entered 10/21/20 11:29:51



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Brooklyn Roasting Works, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Brooklyn Roasting Company
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  63 Flushing Ave, Building 123
                                  Brooklyn Navy Yard
                                  Brooklyn, NY 11205
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                        Case 1-20-43683-ess                      Doc 1       Filed 10/21/20              Entered 10/21/20 11:29:51

Debtor    Brooklyn Roasting Works, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Brooklyn Roasting Works, LLC                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                      Case 1-20-43683-ess                   Doc 1        Filed 10/21/20             Entered 10/21/20 11:29:51

Debtor    Brooklyn Roasting Works, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 21, 2020
                                                  MM / DD / YYYY


                             X   /s/ Thomas D Potter                                                      Thomas D Potter
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Tracy L. Klestadt                                                     Date October 21, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy L. Klestadt
                                 Printed name

                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                 Firm name

                                 200 West 41st Street
                                 17th Floor
                                 New York, NY 10036-7203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 972-3000                Email address      tklestadt@klestadt.com

                                 2089985 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     Brooklyn Roasting Works, LLC                                                     Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     BRC Powerplant 45 Washington, LLC                                       Relationship to you               Subsidiary
District   Eastern District of New York               When                         Case number, if known
Debtor     BRC Powerplant Building 123, LLC                                        Relationship to you               Subsidiary
District   Eastern District of New York               When                         Case number, if known
Debtor     BRC Powerplant, LLC                                                     Relationship to you               Subsidiary
District   Eastern District of New York               When                         Case number, if known
Debtor     Brooklyn Roasting Company Powerplant, LLC                               Relationship to you               Subsidiary
District   Eastern District of New York               When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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3:06 PM
                                    Brooklyn Roasting Company
10/15/20
Accrual Basis                               Profit & Loss
                                    January through September 2020
Brooklyn Roasting Company
Profit & Loss
 1/1/20 ‐ 9/30/20
                                                   YTD 2020
      Ordinary Income/Expense                   1/1/20 - 9/30/20
        Income
          Retail
           Cafe Sales
             Coffee                                 739,936.55
             Food, Merchandise and Misc.            632,067.18
                Total Cafe Sales:                 1,372,003.73
                Special Events                       33,108.99
                Internet Sales                      428,860.33
          Total Retail:                           1,833,973.05
           Wholesale
            Wholesale Coffee Sales                1,843,108.57
            Equipment                                48,750.37
            Service & Repairs                        18,432.47
          Total Wholesale:                        1,910,291.41
         Total Income:                            3,744,264.46
         Cost of Goods Sold
          Café Coffee Cost                          175,601.55
          Other Cafe Direct Coss                    349,998.67
          Production Cost                           992,272.06
          Wholesale Equipment Cost                   74,527.40
          Profit on Internal Coffee Sales           (59,109.31)
         Total Cost of Goods Sold:                1,533,290.37
         Gross Profit                             2,210,974.09
         Expenses
          General & Administrative Expenses
            Utilities                               134,900.03
            Rent                                    911,531.64
            Other General & Administrative          705,356.20
           Total General Administrative Expense 1,751,787.87
           Marketing and Promotion                132,319.35
           Payroll Expenses                     1,144,632.74
         Total Expense:                           3,028,739.96
      Net Ordinary Income                          (817,765.87)
         Interest Expense                            64,523.08
         Other Expense                               (1,950.30)
         Extraordinary Loss - Covid Related         3,012,622.35
      Net Income                                  ###########




                                                                                      Page 1 of 1
           Case 1-20-43683-ess      Doc 1 Filed 10/21/20 Entered 10/21/20 11:29:51
3:11 PM
                                   Brooklyn Roasting Company
10/15/20
                                   Statement of Cash Flows
                                    January through September 2020
Brooklyn Roasting Company
Statement of Cash Flows
1/1/20 ‐ 9/30/20
                                                                                                    Jan - Sep 20

    OPERATING ACTIVITIES
      Net Income                                                                                        -880,338.65
      Adjustments to reconcile Net Income
      to net cash provided by operations:
          11000 ꞏ Accounts Receivable (BRW)                                                              211,538.57
          NSF Checks Received                                                                                 95.00
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120121 ꞏ Cafe Supply Inventory                6,195.05
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120122 ꞏ Equipment & Accessories              5,208.11
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120123 ꞏ Finished Goods Inventory            27,243.26
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120124 ꞏ Green Coffee Inventory              47,106.06
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120125 ꞏ Merchandise Inventory              -33,369.73
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120126 ꞏ Packaging Inventory                -17,456.12
          12010 ꞏ Inventory Asset:12012 ꞏ Itemized Inventory:120127 ꞏ Work in Process                     -6,215.83
          13010 ꞏ Keg Deposits                                                                            13,600.00
          14000 ꞏ Outstanding Loans:13102 ꞏ Due From Richard Mortel                                          600.00
          14000 ꞏ Outstanding Loans:14010 ꞏ Due from James Munson                                         -9,780.21
          19440 ꞏ Security Deposits                                                                      -68,000.00
          19600 ꞏ Prepaid Expenses:19640 ꞏ General Liability Insurance                                       294.50
          21000 ꞏ Accounts Payable:21010 ꞏ BRC                                                           188,583.37
          21000 ꞏ Accounts Payable:21020 ꞏ Credit Card                                                    -6,740.96
          20010 ꞏ Chase MasterCard (9404)                                                                 15,009.33
          20030 ꞏ American Express - 51000                                                                -6,760.46
          Sales Tax Payable-                                                                                 297.18
          22210 ꞏ Sales Tax Agency Payable                                                                10,528.41
          24000 ꞏ Payroll Liabilities                                                                       -213.00
          24000 ꞏ Payroll Liabilities:24010 ꞏ ADP Accrual                                                -33,430.37
          24000 ꞏ Payroll Liabilities:24030 ꞏ Transit Pre Tax                                                453.00
          24000 ꞏ Payroll Liabilities:24040 ꞏ Voided / Manual Checks                                        -231.11
          89100 ꞏ Employee Tips Payable                                                                    2,973.56
          89200 ꞏ Gift Certificates:89210 ꞏ Gift Certificates - Redeemed                                  -6,434.90
          89200 ꞏ Gift Certificates:89220 ꞏ Gift Certificates - Sale                                       3,205.36
    Net cash provided by Operating Activities                                                           -536,040.58
    INVESTING ACTIVITIES
       19100 ꞏ Automobiles:19140 ꞏ Ford Econoline 2012                                                    23,067.05
       19800 ꞏ Coffee Equipment:19812 ꞏ Bunn Brewer                                                       -1,814.69
       19800 ꞏ Coffee Equipment:19813 ꞏ Bunn Grinders                                                     -2,892.29
       19800 ꞏ Coffee Equipment:19815 ꞏ Bunn Server                                                         -361.00
       19800 ꞏ Coffee Equipment:19818 ꞏ Cold Brew Equipment                                                 -579.00
       19800 ꞏ Coffee Equipment:19823 ꞏ Fetco Brewers                                                     -2,150.50
       19800 ꞏ Coffee Equipment:19825 ꞏ Fetco Server                                                      -2,017.65
       19800 ꞏ Coffee Equipment:19837 ꞏ Retail Bins                                                       -2,164.00
       19900 ꞏ Accumulated Depreciation                                                                  -22,067.05



                                                                                                 Page 3 of 4
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3:11 PM
                                   Brooklyn Roasting Company
10/15/20
                                    Statement of Cash Flows
                                    January through September 2020
                                                                                        Jan - Sep 20

    Net cash provided by Investing Activities                                                -10,979.13
    FINANCING ACTIVITIES
       Due to Michael Pollack                                                                 40,000.00
       23000 ꞏ Due to (from) Michael Pollack                                                 -11,987.71
       23003 ꞏ PPP Loan                                                                      726,957.00
       25010 ꞏ Loan Payable - Pallet Stacker                                                  -2,580.21
       25060 ꞏ Loan - Auto Financial                                                          -2,416.00
       25061 ꞏ Loan - TD FInance                                                              -8,962.41
    Net cash provided by Financing Activities                                                741,010.67
                                                                                             193,990.96
                                                                                             229,555.67
Cash at end of period                                                                        423,546.63




                                                                                     Page 4 of 4
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Brooklyn Roasting Company
Balance Sheet 9/30/20

ASSETS
   Current Assets
     Checking/Savings
       Bank Accounts                              345,297.50
       BRINKS                                     (14,603.27)
         Paypal                                     9,429.17
         Cash                                       4,559.00
     Total Checking/Savings:                      344,682.40
     Accounts Receivable                          127,918.00
     Other Current Assets
       Undeposited Funds                           72,183.83
         Inventory Asset                           48,261.00
       Outstanding Loans                                 -
       Security Deposits                                 -
       Miscelaneous                                 5,852.98
     Total Other Current Assets                   126,297.81
   Total Current Assets                           598,898.21
   Fixed Assets
     Machinery & Equipment                        226,077.00
      Automobiles                                  44,332.00
     Coffee Equipment                              31,883.00
   Total Fixed Assets                             302,292.00
   Goodwill & Intangible Assets                          -
TOTAL ASSETS                                $     901,190.21

LIABILITIES & EQUITY
   Liabilities
     Current Liabilities
       Total Accounts Payable                     664,110.04
       Total Credit Cards                          67,862.26
       Other Current Liabilities
            Sales Tax Payable                      10,669.67
            Payroll Liabilities                    35,638.01
            Miscellaneous                           6,790.14
       Total Other Current Liabilities             53,097.82
     Total Current Liabilities                    785,070.12
     Long Term Liabilities
       Due to Michael Pollack (A)             2,125,388.59
       Due to Michael Pollack (B)                28,448.25
       Chase - PPP Loan                         726,957.00
       Loan Payable - Pallet Stacker              5,832.60
       Loan - Auto Financial                     14,449.09
       Loan - TD FInance                         23,619.33
     Total Long Term Liabilities              2,924,694.86
   Total Liabilities                        $ 3,709,764.98
   Equity
     Partner's Equity                            4,119,517.26
     Retained Earnings                          (3,104,880.88)
     Net Income                                 (3,892,961.00)
   Total Equity                                 (2,878,324.62)
TOTAL LIABILITIES & EQUITY                         831,440.36

     NOTES:
      Includes consolidated subsidiaries
      Assets listed at current liquidation value net of uncollectibles
      Furniture, fixtures and misc. coffee equipment at leased cafes are
          assumed to have no current value
      Deposits on leased premises are assumed to have no value
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In re   Brooklyn Roasting Works, LLC                                            Case No.
                                                       Debtor(s)



                                       FORM 1. VOLUNTARY PETITION
                                                 Attachment D



                                   Tax returns will be provided upon request.
                       Case 1-20-43683-ess                           Doc 1       Filed 10/21/20             Entered 10/21/20 11:29:51




 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 21, 2020                        X /s/ Thomas D Potter
                                                                       Signature of individual signing on behalf of debtor

                                                                       Thomas D Potter
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                            Case 1-20-43683-ess                       Doc 1         Filed 10/21/20             Entered 10/21/20 11:29:51



 Fill in this information to identify the case:
 Debtor name Brooklyn Roasting Works, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 25 Jay Street LLC                                               Rent arrears                                                                                           $141,206.64
 77 Box Street
 Brooklyn, NY 11222
 Basin Haulage, Inc                                              Goods or services                                                                                            $250.00
 PO Box 790058                                                   sold and delivered
 Middle Village, NY
 11379
 CLW Distributors                                                Goods sold and                                                                                               $250.00
 79 G Express Street                                             delivered
 Plainview, NY 11803
 Cold Brew Ventures                                              Goods sold and                                                                                           $25,000.00
 LLC                                                             delivered
 Back Bay Roasters
 & Brewers
 10 Jewel Drive
 Wilmington, MA
 01887
 Con Edison                                                      Utility services                                                                                         $11,290.65
 4 Irving Place
 New York, NY 10003
 JP Morgan Chase                                                 PPP Loan                                                                                               $726,957.00
 PO Box 9001022
 Louisville, KY
 40290-1022
 Leibensperger Law                                               Services sold and                                                                                            $225.00
 Firm                                                            delivered
 111 John Street,
 Suite 2510
 New York, NY 10038
 Pain D'Avignon III                                              Goods sold and                                                                                               $500.00
 Ltd.                                                            delivered
 PO Box 1872
 Long Island City, NY
 11101




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                           Case 1-20-43683-ess                                     Doc 1              Filed 10/21/20                         Entered 10/21/20 11:29:51


 Fill in this information to identify the case:

 Debtor name            Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           778,748.70

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           778,748.70


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            43,900.60


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,063,329.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,107,230.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                       Case 1-20-43683-ess                           Doc 1   Filed 10/21/20      Entered 10/21/20 11:29:51


 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                           $4,559.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   JP Morgan Chase
                   PO Box 9001022
           3.1.    Louisville, KY 40290-1022                                 Payroll                     1762                                     $9,308.93


                   JP Morgan Chase
                   PO Box 9001022
           3.2.    Louisville, KY 40290-1022                                 Checking Account            2650                                       $824.38


                   JP Morgan Chase
                   PO Box 9001022
           3.3.    Louisville, KY 40290-1022                                 Operating                   2966                                             $0.00


                   JP Morgan Chase
                   PO Box 9001022
           3.4.    Louisville, KY 40290-1022                                 Savings                     6850                                             $0.00


                   JP Morgan Chase
                   PO Box 9001022
           3.5.    Louisville, KY 40290-1022                                 23rd Cash                   7111                                         $68.86




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Brooklyn Roasting Works, LLC                                                 Case number (If known)
                  Name

                    JP Morgan Chase
                    PO Box 9001022
           3.6.     Louisville, KY 40290-1022                                Analysis Business               7653                   $64,806.75



 4.        Other cash equivalents (Identify all)


           4.1.     Paypal                                                                                                            $9,429.17




 5.        Total of Part 1.                                                                                                      $88,997.09
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposits                                                                                              $185,371.63



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                     $185,371.63
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            269,473.65   -                        141,554.80 = ....            $127,918.85
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                     $127,918.85
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
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 Debtor         Brooklyn Roasting Works, LLC                                                     Case number (If known)
                Name


        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress
           Work in Process                            9/2020                            $104,791.28                                               $0.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory                                  9/2020                            $638,398.00                                       $48,261.00



 23.       Total of Part 5.                                                                                                           $48,261.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office equipment and lease hold
           improvements                                                                   Unknown                                             $100.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Brooklyn Roasting Works, LLC                                                  Case number (If known)
                Name

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                 $100.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of        Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest        for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Grey Promaster RAM 2019                                          $28,700.00       KBB                               $28,700.00


           47.2.     Nissan NV 200                                                    $10,400.00       KBB                                 Unknown


           47.3.     Black Promaster RAM 2015                                         $18,300.00       KBB                                 Unknown


           47.4.     Audi 2016 Q5                                                     $25,000.00       KBB                               $25,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Coffee Equipment                                                          $694,337.18                                         $31,883.00


           Production Equipment                                                    $1,039,966.00                                        $226,077.00


           Pallet Stacker                                                             $16,440.13                                         $16,440.13



 51.       Total of Part 8.                                                                                                         $328,100.13
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Brooklyn Roasting Works, LLC                                                   Case number (If known)
                Name


               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Units 101, 103, 104,
                     and portion of the
                     basement at 25 Jay
                     Street, Brooklyn, NY
                     11201                                Lease                              $0.00                                                 $0.00


            55.2.    Portion of Lobby,
                     Annex Building,
                     Brooklyn Army
                     Terminal, Brooklyn,
                     NY 11220                             Lease                         Unknown                                             Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of       Valuation method used    Current value of
                                                                               debtor's interest       for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Brooklyn Roasting Works, LLC                                                 Case number (If known)
                Name

            www.brooklynroasting.com                                                   Unknown                                          Unknown



 62.        Licenses, franchises, and royalties
            Non-Transferable Licenses and Permits                                      Unknown                                          Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                        $0.00                                             $0.00



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor          Brooklyn Roasting Works, LLC                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $88,997.09

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $185,371.63

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $127,918.85

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $48,261.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $100.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $328,100.13

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $778,748.70           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $778,748.70




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Audi Financial Services                        Describe debtor's property that is subject to a lien                   $14,449.00                $25,000.00
       Creditor's Name                                Audi 2016 Q5
       PO Box Financial Services
       Carol Stream, IL
       60197-5215
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3594
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   TD Bank                                        Describe debtor's property that is subject to a lien                   $23,619.00                $28,700.00
       Creditor's Name                                Grey Promaster RAM 2019
       PO Box 9223
       Farmington Hills, MI 48333
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5629
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                          Case 1-20-43683-ess                        Doc 1       Filed 10/21/20              Entered 10/21/20 11:29:51


 Debtor       Brooklyn Roasting Works, LLC                                                            Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    Wells Fargo                                   Describe debtor's property that is subject to a lien                      $5,832.60           $16,440.13
        Creditor's Name                               Pallet Stacker
        PO Box 1433
        Des Moines, IA 50306-1433
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        9001
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $43,900.60

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                       Case 1-20-43683-ess                           Doc 1    Filed 10/21/20                   Entered 10/21/20 11:29:51


 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $141,206.64
           25 Jay Street LLC                                                    Contingent
           77 Box Street                                                        Unliquidated
           Brooklyn, NY 11222                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Rent arrears
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $250.00
           Basin Haulage, Inc                                                   Contingent
           PO Box 790058                                                        Unliquidated
           Middle Village, NY 11379                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Goods or services sold and delivered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $250.00
           CLW Distributors                                                     Contingent
           79 G Express Street                                                  Unliquidated
           Plainview, NY 11803                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $25,000.00
           Cold Brew Ventures LLC                                               Contingent
           Back Bay Roasters & Brewers                                          Unliquidated
           10 Jewel Drive                                                       Disputed
           Wilmington, MA 01887
                                                                             Basis for the claim:    Goods sold and delivered
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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 Debtor       Brooklyn Roasting Works, LLC                                                            Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,290.65
           Con Edison                                                           Contingent
           4 Irving Place                                                       Unliquidated
           New York, NY 10003                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Utility services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $726,957.00
           JP Morgan Chase                                                      Contingent
           PO Box 9001022                                                       Unliquidated
           Louisville, KY 40290-1022                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
           Last 4 digits of account number      9013
                                                                             Is the claim subject to offset?     No       Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $225.00
           Leibensperger Law Firm                                               Contingent
           111 John Street, Suite 2510                                          Unliquidated
           New York, NY 10038                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services sold and delivered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $32,261.65
           Michael Pollack                                                      Contingent
           55 Hudson Street, 8A                                                 Unliquidated
           New York, NY 10013                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $2,125,388.59
           Michael Pollack                                                      Contingent
           55 Hudson Street, 8A                                                 Unliquidated
           New York, NY 10013                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $500.00
           Pain D'Avignon III Ltd.                                              Contingent
           PO Box 1872                                                          Unliquidated
           Long Island City, NY 11101                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Goods sold and delivered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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 Debtor       Brooklyn Roasting Works, LLC                                                        Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.        $                   0.00
 5b. Total claims from Part 2                                                                       5b.    +   $           3,063,329.53

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $             3,063,329.53




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Commercial Lease for
             lease is for and the nature of               Units 101, 103, 104, and
             the debtor's interest                        portion of the
                                                          basement at 25 Jay
                                                          Street, Brooklyn, NY
                                                          11201 - April 1, 2015 -
                                                          March 31, 2022
                  State the term remaining                March 31, 2022
                                                                                      25 Jay Street LLC
             List the contract number of any                                          77 Box Street
                   government contract                                                Brooklyn, NY 11222


 2.2.        State what the contract or                   Sale Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Atlas Coffee Imports, Inc.
             List the contract number of any                                          201 N 85th Street
                   government contract                                                Seattle, WA 98103


 2.3.        State what the contract or                   Sale Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Keffa Coffee Inc.
             List the contract number of any                                          7 S High St
                   government contract                                                Baltimore, MD 21202


 2.4.        State what the contract or                   Commercial Lease for
             lease is for and the nature of               Portion of Lobby,
             the debtor's interest                        Annex Building,
                                                          Brooklyn Army
                                                          Terminal, Brooklyn, NY
                                                          11220 - February 1,
                                                          2020 - January 31, 2025     New York City Economic Development Corp.
                  State the term remaining                January 31, 2025            One Liberty Plaza
                                                                                      New York, NY 10006

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Brooklyn Roasting Works, LLC                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Sale Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                          RGC Coffee
             List the contract number of any                                              1330 Greene Avenue, 2nd Floor
                   government contract                                                    Westmount, Quebec H3Z 2B1


 2.6.        State what the contract or                   COVID-19 Contract
             lease is for and the nature of               Adjustment
             the debtor's interest

                  State the term remaining
                                                                                          Royal New York
             List the contract number of any                                              661 Hadley Road
                   government contract                                                    South Plainfield, NJ 07080


 2.7.        State what the contract or                   Landed and Forward
             lease is for and the nature of               Contracts
             the debtor's interest

                  State the term remaining
                                                                                          Sustainable Harvest Coffee Imports
             List the contract number of any                                              322 NW 8th Ave
                   government contract                                                    Portland, OR 97209




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                          Check all schedules
                                                                                                                                 that apply:

    2.1      Michael Pollack                                                                       25 Jay LLC                       D
                                               "Good guy" guaranty of lease obligations                                             E/F
                                                                                                                                    G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Brooklyn Roasting Works, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $3,744,264.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $10,334,860.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $9,760,423.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               American Express Card                                         8/11/2020,                     $12,218.45           Secured debt
               PO Box 1270                                                   9/11/2020,                                          Unsecured loan repayments
               Newark, NJ 07101                                              10/13/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/15/2020
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Atlas Coffee Importers, Inc                                   7/21/2020,                     $33,112.15           Secured debt
               201 North 85th Street                                         8/6/2020,                                           Unsecured loan repayments
               Seattle, WA 98103                                             8/17/2020,
                                                                                                                                 Suppliers or vendors
                                                                             9/30/2020,
                                                                                                                                 Services
                                                                             10/5/2020,
                                                                             10/14/2020                                          Other


       3.3.
               Bear Dallis Financial Management LLC                          8/6/2020,                      $20,440.87           Secured debt
               505 Court Street, 2E                                          9/10/2020,                                          Unsecured loan repayments
               Brooklyn, NY 11231                                            10/5/2020                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Chase Business Card                                           7/15/2020,                    $131,405.79           Secured debt
               Cardmember Service                                            8/4/2020.                                           Unsecured loan repayments
               PO Box 1423                                                   8/21/2020,
                                                                                                                                 Suppliers or vendors
               Charlotte, NC 28201-1423                                      10/13/2020,
                                                                                                                                 Services
                                                                             10/15/2020
                                                                                                                                 Other


       3.5.
               Cold Brew Ventures LLC                                        7/21/2020,                     $10,894.40           Secured debt
               Back Bay Roasters & Brewers                                   7/30/2020,                                          Unsecured loan repayments
               10 Jewel Drive                                                8/6/2020,
                                                                                                                                 Suppliers or vendors
               Wilmington, MA 01887                                          8/17/2020,
                                                                                                                                 Services
                                                                             8/21/2020.
                                                                             9/1/2020,                                           Other
                                                                             9/10/2020
       3.6.
               Five Star Label                                               7/30/2020,                       $8,006.13          Secured debt
               5651 56th Drive                                               8/6/2020,                                           Unsecured loan repayments
               Maspeth, NY 11378                                             9/10/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/5/2020
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Flushing Brooklyn Inc                                         7/21/2020,                     $18,830.31           Secured debt
               42 Washington Ave                                             7/30/2020,                                          Unsecured loan repayments
               Maspeth, NY 11378                                             8/17/2020,
                                                                                                                                 Suppliers or vendors
                                                                             9/1/2020,
                                                                                                                                 Services
                                                                             10/8/2020
                                                                                                                                 Other


       3.8.
               Independent Can Company                                       7/30/2020,                     $39,590.93           Secured debt
               1300 Brass Mill Road                                          9/1/2020,                                           Unsecured loan repayments
               Belcamp, MD 21017-1211                                        10/14/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/15/2020
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               Imperial Bag & Paper Co LLC                                   7/21/2020,                     $22,795.91           Secured debt
               221 US Highway 1 & 9                                          7/30/2020,                                          Unsecured loan repayments
               Jersey City, NJ 07306-6705                                    8/6/2020,
                                                                                                                                 Suppliers or vendors
                                                                             8/21/2020,
                                                                                                                                 Services
                                                                             9/1/2020,
                                                                             9/10/2020,                                          Other
                                                                             9/25/2020,
                                                                             10/5/2020,
                                                                             10/14/2020,
                                                                             10/15/2020
       3.10
       .
            Keffa Coffee                                                     7/21/2020,                     $20,832.54           Secured debt
               1001 Cromwell Bridge Rd, Suite 106                            8/6/2020,                                           Unsecured loan repayments
               Towson, MD 21286                                              9/25/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/14/2020
                                                                                                                                 Services
                                                                                                                                 Other


       3.11
       .
            Klestadt Winters Jureller Southard                               7/21/2020,                     $58,585.00           Secured debt
               & Stevens, LLP                                                10/19/2020                                          Unsecured loan repayments
               200 West 41st Street, 17th Floor                                                                                  Suppliers or vendors
               New York, NY 10036
                                                                                                                                 Services
                                                                                                                                 Other


       3.12
       .
            LaRon Batchelor Passport Food &                                  7/15/2020,                     $14,029.02           Secured debt
               Beverage                                                      8/17/2020,                                          Unsecured loan repayments
               8550 Forest Parkway - 5E                                      9/25/2020
                                                                                                                                 Suppliers or vendors
               Woodhaven, NY 11421
                                                                                                                                 Services
                                                                                                                                 Other


       3.13
       .
            Liberty Mutual Insurance                                         8/11/2020,                     $23,216.28           Secured debt
               PO Box 188025                                                 9/11/2020,                                          Unsecured loan repayments
               Fairfield, OH 45018-8025                                      10/11/2020
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            North Atlantic Specialty Bag                                     6/4/2020,                      $12,699.95           Secured debt
               Ellen Donnegan                                                6/10/2020,                                          Unsecured loan repayments
               929 Neversink Street                                          6/18/2020,
                                                                                                                                 Suppliers or vendors
               Reading, PA 19606                                             6/26/2020,
                                                                                                                                 Services
                                                                             8/17/2020
                                                                                                                                 Other


       3.15
       .
            NYS Sales Tax                                                    7/21/2020,                     $20,151.41           Secured debt
               Bankruptcy Section                                            8/20/2020,                                          Unsecured loan repayments
               PO Box                                                        9/18/2020                                           Suppliers or vendors
               Albany, NY 12205-0300                                                                                             Services
                                                                                                                                 Other Taxes




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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.16
       .
            Oxford Health Plans                                              7/24/2020,                     $27,772.91           Secured debt
               Po Box 29135                                                  8/17/2020,                                          Unsecured loan repayments
               Hot Springs National Park, AR 71903                           10/5/2020                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.17
       .
            Royal Coffe NY Inc                                               7/28/2020,                    $155,324.62           Secured debt
               Andrew Blyth                                                  8/6/2020,                                           Unsecured loan repayments
               180 Raritan Center Pkwy, 207                                  8/17/2020,
                                                                                                                                 Suppliers or vendors
               Edison, NJ 08837                                              9/1/2020,
                                                                                                                                 Services
                                                                             9/10/2020,
                                                                             9/25/2020,                                          Other
                                                                             10/5/2020,
                                                                             10/15/2020
       3.18
       .
            Shalom International                                             7/15/2020,                       $5,940.00          Secured debt
               8 Nicholas Court, Suite B                                     7/21/2020                                           Unsecured loan repayments
               Dayton, NJ 08810
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.19
       .
            Sustainable Harvest Inc                                          7/30/2020,                     $25,763.55           Secured debt
               322 NW 8th Avenue                                             8/17/2020,                                          Unsecured loan repayments
               Portland, OR 97209                                            9/1/2020,
                                                                                                                                 Suppliers or vendors
                                                                             9/25/2020,
                                                                                                                                 Services
                                                                             10/5/2020,
                                                                             10/15/2020                                          Other


       3.20
       .
            Michael Pollack                                                  8/6/2020,                      $20,098.32           Secured debt
               55 Hudson Street, 8A                                          9/2/2020,                                           Unsecured loan repayments
               New York, NY 10013                                            10/14/2020                                          Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Interest payment on
                                                                                                                               unsecured loan

       3.21
       .
            Con Edison                                                       7/28/2020,                     $34,913.03           Secured debt
               4 Irving Place                                                8/21/2020,                                          Unsecured loan repayments
               New York, NY 10003                                            10/14/2020
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.22
       .
            Pain D'Avignon III                                               7/21/2020,                     $24,113.45           Secured debt
               P.O. Box 1872                                                 7/30/2020,                                          Unsecured loan repayments
               Long Island City, NY 11101                                    8/21/2020,
                                                                                                                                 Suppliers or vendors
                                                                             9/10/2020,
                                                                                                                                 Services
                                                                             10/5/2020,
                                                                             10/15/2020                                          Other




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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.23
       .
            GMC Master Tenants, LLC                                          8/28/2020,                     $80,779.33           Secured debt
               63 Flushing Avenue Bldg 292, Unit 300                         10/5/2020                                           Unsecured loan repayments
               Brooklyn, NY 11205                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.24
       .
            Industry Coffee Works                                            7/21/2020,                       $8,231.02          Secured debt
               56-75 49th Street                                             7/30/2020,                                          Unsecured loan repayments
               Maspeth, NY 11378                                             8/6/2020
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.25
       .
            8 Spruce Street LLC                                              8/3/2020,                      $16,251.87           Secured debt
                                                                             9/2/2020,                                           Unsecured loan repayments
                                                                             10/2/2020                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.26
       .
            Big Geyser Inc                                                   8/6/2020,                        $7,113.76          Secured debt
               57-65 48th Street                                             8/17/2020,                                          Unsecured loan repayments
               Maspeth, NY 11378                                             8/21/2020,
                                                                                                                                 Suppliers or vendors
                                                                             9/1/2020,
                                                                                                                                 Services
                                                                             10/5/2020,
                                                                             10/14/2020                                          Other


       3.27
       .
            CLW Distributors                                                 7/21/2020,                     $10,590.55           Secured debt
               79 G Express Street                                           7/30/2020,                                          Unsecured loan repayments
               Plainview, NY 11803                                           8/6/2020,
                                                                                                                                 Suppliers or vendors
                                                                             8/17/2020,
                                                                                                                                 Services
                                                                             8/21/2020,
                                                                             9/10/2020,                                          Other
                                                                             9/21/2020,
                                                                             9/25/2020,
                                                                             10/5/2020,
                                                                             10/15/2020
       3.28
       .
            Exp Corp Distributor USA                                         8/31/2020                      $12,180.90           Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.29
       .
            Fetco                                                            7/30/2020,                     $12,772.49           Secured debt
               600 Rose Road                                                 8/6/2020,                                           Unsecured loan repayments
               Lake Zurich, IL 60047-0429                                    9/10/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/5/2020
                                                                                                                                 Services
                                                                                                                                 Other




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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.30
       .
            RGC Coffee Inc                                                   7/21/2020,                     $10,147.80           Secured debt
               1330 Avenue Gree, 2nd Floor                                   9/1/2020,                                           Unsecured loan repayments
               Westmount, Quebec, H3Z 2B1                                    9/25/2020,
                                                                                                                                 Suppliers or vendors
                                                                             10/5/2020
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                            Dates               Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Munson                                                  See                           $174,331.81         Salary
                                                                             attachment
               Member and Director

       4.2.    Thomas D Potter                                               5/22/2020,                     $20,500.00         Salary
                                                                             5/29/2020,
               Manager                                                       6/5/2020,
                                                                             6/12/2020,
                                                                             6/19/2020,
                                                                             6/26/2020,
                                                                             7/3/2020,
                                                                             7/10/2020,
                                                                             7/17/2020,
                                                                             7/24/2020,
                                                                             7/31/2020,
                                                                             8/7/2020,
                                                                             8/14/2020,
                                                                             8/21/20,
                                                                             9/11/2020,
                                                                             9/18/2020,
                                                                             9/25/2020,
                                                                             10/9/2020,
                                                                             10/16/2020

       4.3.    Michael Pollack                                               11/1/2019,                     $21,126.95         Interest and principal payments
               55 Hudson Street, 8A                                          12/2/2019,
               New York, NY 10013                                            1/6/2020,
               Member and Director                                           1/31/2020,
                                                                             2/28/2020,
                                                                             5/4/2020,
                                                                             6/10/2020,
                                                                             6/26/2020,
                                                                             7/30/2020,
                                                                             8/17/2020,
                                                                             9/25/2020,
                                                                             10/14/2020




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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.4.    Michael Pollack                                               10/18/2019,                    $65,278.54           Salary
               55 Hudson Street, 8A                                          10/25/2019,
               New York, NY 10013                                            11/1/2019,
               Member and Director                                           11/8/2019,
                                                                             11/15/2019,
                                                                             11/22/2019,
                                                                             11/29/2019,
                                                                             12/6/2019,
                                                                             12/13/2019,
                                                                             12/20/2019,
                                                                             12/27/2019,
                                                                             1/3/2020,
                                                                             1/10/2020,
                                                                             1/17/2020,
                                                                             1/24/2020,
                                                                             1/31/2020,
                                                                             2/7/2020,
                                                                             2/14/2020,
                                                                             2/21/2020,
                                                                             2/28/2020,
                                                                             3/6/2020,
                                                                             3/13/2020,
                                                                             3/20/2020,
                                                                             3/27/2020,
                                                                             5/1/2020,
                                                                             5/8/2020,
                                                                             5/15/2020,
                                                                             5/22/2020,
                                                                             5/29/2020,
                                                                             6/5/2020,
                                                                             6/12/2020,
                                                                             6/19/2020,
                                                                             626/2020,
                                                                             7/2/2020

       4.5.    Michael Pollack                                               10/1/2019,                     $89,056.41           Interest payments on loans
               55 Hudson Street, 8A                                          10/29/2019,
               New York, NY 10013                                            12/2/019,
               Member and Director                                           1/3/2020,
                                                                             1/31/2020,
                                                                             3/8/2020,
                                                                             3/31/2020,
                                                                             5/4/2020,
                                                                             6/10/2020,
                                                                             7/10/2020,
                                                                             8/6/2020,
                                                                             9/2/2020,
                                                                             10/14/2020

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.
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 Debtor      Brooklyn Roasting Works, LLC                                                                   Case number (if known)




           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Brooklyn Roasting Works, LLC                                                              Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates                 Total amount or
                 the transfer?                                                                                                                                value
                 Address
       11.1.     Klestadt Winters Jureller et al.                                                                              7/22/2020
                 200 West 41 Street                                                                                            $25,000
                 17th floor                                                                                                    10/19/2020
                 New York, NY 10036-7203                                                                                       $33,585                   $58,585.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers                Total amount or
                                                                                                                      were made                               value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer               Total amount or
               Address                                           payments received or debts paid in exchange             was made                             value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care

 Part 9:       Personally Identifiable Information




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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                            Value
       Melitta                                                                                            FSU 601 Packaging System                 $80,000.00



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).


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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Bear Dallis Financial Management LLC
                    David Bear Dallis
                    505 Court Street, 2E
                    Brooklyn, NY 11231
       26a.2.       Silverman Linden LLP
                    Alex Linden
                    1500 Broadway, Suite 903
                    New York, NY 10036

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jurhidy Rodriguez Tavarez
                    9265 Shore Road, 3H
                    Brooklyn, NY 11209

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 James Munson                                                                                                 See
       .                                                         174,331.81                                              attachment         Salary

                Relationship to debtor
                Member and Director




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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates         Reason for
                                                                 property                                                              providing the value
       30.2                                                                                                              5/22/2020,
       .                                                                                                                 5/29/2020,
                                                                                                                         6/5/2020,
                                                                                                                         6/12/2020,
                                                                                                                         6/19/2020,
                                                                                                                         6/26/2020,
                                                                                                                         7/3/2020,
                                                                                                                         7/10/2020,
                                                                                                                         7/17/2020,
                                                                                                                         7/24/2020,
                                                                                                                         7/31/2020,
                                                                                                                         8/7/2020,
                                                                                                                         8/14/2020,
                                                                                                                         8/21/20,
                                                                                                                         9/11/2020,
                                                                                                                         9/18/2020,
                                                                                                                         9/25/2020,
               Thomas D Potter                                                                                           10/9/2020,
                                                                 $20,500.00                                              10/16/2020    Salary

               Relationship to debtor
               Manager


       30.3                                                                                                              10/18/2019,
       .                                                                                                                 10/25/2019,
                                                                                                                         11/1/2019,
                                                                                                                         11/8/2019,
                                                                                                                         11/15/2019,
                                                                                                                         11/22/2019,
                                                                                                                         11/29/2019,
                                                                                                                         12/6/2019,
                                                                                                                         12/13/2019,
                                                                                                                         12/20/2019,
                                                                                                                         12/27/2019,
                                                                                                                         1/3/2020,
                                                                                                                         1/10/2020,
                                                                                                                         1/17/2020,
                                                                                                                         1/24/2020,
                                                                                                                         1/31/2020,
                                                                                                                         2/7/2020,
                                                                                                                         2/14/2020,
                                                                                                                         2/21/2020,
                                                                                                                         2/28/2020,
                                                                                                                         3/6/2020,
                                                                                                                         3/13/2020,
                                                                                                                         3/20/2020,
                                                                                                                         3/27/2020,
                                                                                                                         5/1/2020,
                                                                                                                         5/8/2020,
                                                                                                                         5/15/2020,
                                                                                                                         5/22/2020,
                                                                                                                         5/29/2020,
                                                                                                                         6/5/2020,
                                                                                                                         6/12/2020,
               Michael Pollack                                                                                           6/19/2020,
               55 Hudson Street, 8A                                                                                      6/26/2020,
               New York, NY 10013                                $65,278.54                                              7/2/2020      Salary

               Relationship to debtor
               Member and Director


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 Debtor       Brooklyn Roasting Works, LLC                                                              Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.4                                                                                                              11/1/2019,
       .                                                                                                                 12/2/2019,
                                                                                                                         1/6/2020,
                                                                                                                         1/31/2020,
                                                                                                                         2/28/2020,
                                                                                                                         5/4/2020,
                                                                                                                         6/10/2020,
                                                                                                                         6/26/2020,
                                                                                                                         7/30/2020,
               Michael Pollack                                                                                           8/17/2020,        Interest and
               55 Hudson Street, 8A                                                                                      9/25/2020,        principal
               New York, NY 10013                                $21,126.95                                              10/14/2020        payments

               Relationship to debtor
               Member and Director


       30.5                                                                                                              10/1/2019,
       .                                                                                                                 10/29/2019,
                                                                                                                         12/2/019,
                                                                                                                         1/3/2020,
                                                                                                                         1/31/2020,
                                                                                                                         3/8/2020,
                                                                                                                         3/31/2020,
                                                                                                                         5/4/2020,
                                                                                                                         6/10/2020,
                                                                                                                         7/10/2020,
               Michael Pollack                                                                                           8/6/2020,
               55 Hudson Street, 8A                                                                                      9/2/2020,         Interest payment
               New York, NY 10013                                $89,056.41                                              10/14/2020        on loan

               Relationship to debtor
               Member and Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Brooklyn Roasting Works, LLC                                                               Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 21, 2020

 /s/ Thomas D Potter                                                    Thomas D Potter
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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 In re   Brooklyn Roasting Works, LLC                                             Case No.
                                                          Debtor(s)



                                   STATEMENT OF FINANCIAL AFFAIRS
                                                    Attachment A

                                           James Munson Payment Dates

10/18/2019, 10/25/2019, 10/26/2019, 11/1/2019, 11/2/2019, 11/8/2019, 11/9/2020, 11/15/2019, 11/16/2019, 11/22/2019,
11/23/2019, 11/29/2019, 11/30/2019, 12/6/2019, 12/7/2019, 12/13/2019, 12/14/2019, 12/20/2019, 12/21/2019,
12/27/2019, 12/28/2019, 1/3/2019, 1/4/2020, 1/10/2020, 1/11/2020, 1/17/2020, 1/18/2020, 1/24/2020, 1/25/2020,
1/31/2020, 2/1/2020, 2/7/2020, 2/8/2020, 2/14/2020, 2/15/2020, 2/21/2020, 2/22/2020, 2/28/2020, 2/29/2020, 3/6/2020,
3/7/2020, 3/13/2020, 3/14/2020, 3/20/2020, 3/21/2020, 3/27/2020, 3/28/2020, 4/3/2020, 4/4/2020, 4/10/2020, 4/11/2020,
4/17/2020, 4/18/2020, 4/24/2020, 4/25/2020, 5/1/2020, 5/2/2020, 5/8/2020, 5/9/2020, 5/15/2020, 5/16/2020, 5/22/2020,
5/23/2020, 5/29/2020, 5/30/2020, 6/5/2020, 6/6/2020, 6/12/2020, 6/13/2020, 6/19/2020, 6/20/2020, 6/26/2020, 6/27/2020,
7/3/2020, 7/4/2020, 7/10/2020, 7/11/2020, 7/17/2020, 7/18/2020, 7/24/2020, 7/25/2020, 7/31/2020, 8/1/2020, 8/7/2020,
8/8/2020, 8/14/2020, 8/15/2020, 8/21/2020/, 8/22/2020, 8/28/2020, 8/29/2020, 9/4/2020, 9/5/2020, 9/11/2020, 9/12/2020,
9/18/2020, 9/19/2020, 9/25/2020, 9/26/2020, 10/2/2020, 10/3/2020, 10/9/2020, 10/10/2020, 10/16/2020
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Brooklyn Roasting Works, LLC                                                                     Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 55,585.00
             Prior to the filing of this statement I have received                                        $                 55,585.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 21, 2020                                                             /s/ Tracy L. Klestadt
     Date                                                                         Tracy L. Klestadt
                                                                                  Signature of Attorney
                                                                                  Klestadt Winters Jureller Southard & Stevens, LLP
                                                                                  200 West 41st Street
                                                                                  17th Floor
                                                                                  New York, NY 10036-7203
                                                                                  (212) 972-3000 Fax: (212) 972-2245
                                                                                  tklestadt@klestadt.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Roasting Works, LLC                                                                   Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Amanda Baird



 Andrew McDowell



 Ben Schippers



 Beth Josub



 Beth Schermer



 Catherine Bent



 Daniel Power



 David Dallis



 Elke Hofmann



 Emily Sheppard



 Ethan Herschenfeld



 Gail Flanery



 Jack Guttman



 James Berman




Sheet 1 of 3 in List of Equity Security Holders
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 In re:    Brooklyn Roasting Works, LLC                                                         Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities     Kind of Interest
 business of holder

 James Munson



 John O'Brien



 Joshua Samton



 Lochrie Capital Partners



 Mark Raisbeck



 Matthew Gale



 Meg Hodgkins



 Michael Pollack



 Paul Goodman



 Paul Lattanzio



 Philip Herschenfeld



 Philip Radiotes



 Phyllis Herschenfeld



 Rachel Moldauer



 Ray George



List of equity security holders consists of 3 total page(s)
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 In re:    Brooklyn Roasting Works, LLC                                                                  Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Rob Herschenfeld



 Sandy Stillman



 Scott Hahn



 Steven Jewett



 Tae Lee



 Thomas D Potter



 Todd Phin



 Vidrik Frankfather



 Vito Lombardo



 William Wachtel



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 21, 2020                                                       Signature /s/ Thomas D Potter
                                                                                            Thomas D Potter

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 3 total page(s)
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Roasting Works, LLC                                                                    Case No.
                                                                                    Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       October 21, 2020                                            /s/ Thomas D Potter
                                                                         Thomas D Potter/Manager
                                                                         Signer/Title

 Date: October 21, 2020                                                  /s/ Tracy L. Klestadt
                                                                         Signature of Attorney
                                                                         Tracy L. Klestadt
                                                                         Klestadt Winters Jureller Southard & Stevens, LLP
                                                                         200 West 41st Street
                                                                         17th Floor
                                                                         New York, NY 10036-7203
                                                                         (212) 972-3000 Fax: (212) 972-2245




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                   25 Jay Street LLC
                   77 Box Street
                   Brooklyn, NY 11222


                   Amanda Baird
                   119 Towne St, 104
                   Stamford, CT 06902


                   Andrew McDowell
                   1158 Manhattan Ave
                   Brooklyn, NY 11222


                   Atlas Coffee Imports, Inc.
                   201 N 85th Street
                   Seattle, WA 98103


                   Audi Financial Services
                   PO Box Financial Services
                   Carol Stream, IL 60197-5215


                   Basin Haulage, Inc
                   PO Box 790058
                   Middle Village, NY 11379


                   Ben Schippers
                   16 Duffiled St.
                   Brooklyn, NY 11201


                   Beth Josub
                   88 S. 1st St., Apt 4A
                   Brooklyn, NY 11249


                   Beth Schermer
                   5101 Casa Blanca #12
                   Scotsdale, AZ 85253


                   Catherine Bent
                   30 Beaufort Rd., Apt 3
                   Jamaica Plain, MA 02130


                   CLW Distributors
                   79 G Express Street
                   Plainview, NY 11803
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               Cold Brew Ventures LLC
               Back Bay Roasters & Brewers
               10 Jewel Drive
               Wilmington, MA 01887


               Con Edison
               4 Irving Place
               New York, NY 10003


               Cristian Soriano
               28 Brighton 10th Path
               Brooklyn, NY 11235


               Daniel Power
               424 16th St.
               Brooklyn, NY 11215


               David Dallis
               93 Wall St
               Kingston, NY 12401


               Delfino Enriquez Torres
               1291 Greene Ave, 3L
               Brooklyn, NY 11237


               Devin Therriault
               356 Greene Avenue, 2R
               Brooklyn, NY 11216


               Elke Hofmann
               423 Atlantic Ave, Apt 4D
               Brooklyn, NY 11217


               Emily Sheppard
               701 Ramsey St. NE
               Minneapolis, MN 55413


               Ethan Herschenfeld
               68 N. 3rd St.
               Brooklyn, NY 11249


               Gail Flanery
               511 8th Street, Apt 1L
               Brooklyn, NY 11215
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               Internal Revenue Service
               Centralized Insolvency Operations
               PO Box 7346
               Philadelphia, PA 19101-7346


               Jack Guttman
               Pearl Roasting Partners
               202 Plymouth St
               Brooklyn, NY 11201


               Jackson Mitchell
               228 Greene Avenue, 3
               Brooklyn, NY 11238


               James Munson
               35 Broadway #4C
               Brooklyn, NY 11249


               John O'Brien
               260 W 54th St, Apt 43J
               New York, NY 10019


               Joshua Samton
               84 Mercer St.
               New York, NY 10012


               JP Morgan Chase
               PO Box 9001022
               Louisville, KY 40290-1022


               Jurhidy Rodriguez Tavarez
               9265 Shore Road, 3H
               Brooklyn, NY 11209


               Keffa Coffee Inc.
               7 S High St
               Baltimore, MD 21202


               Leibensperger Law Firm
               111 John Street, Suite 2510
               New York, NY 10038
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               Lochrie Capital Partners
               Drew Baird
               88 Seminary St
               New Canaan, CT 06840


               Mark Raisbeck
               17 Hotchkiss Lane
               Madison, CT 06443


               Martin Ray
               218 74th Street, B5
               Brooklyn, NY 11209


               Matthew Gale
               2024 17th St
               Sacramento, CA 95818


               Meg Hodgkins
               359 Pork Point Rd
               Bowdoinham, ME 04008


               Michael Pollack
               55 Hudson Street, 8A
               New York, NY 10013


               Michael Pollack



               Miles Ventura
               44 Clifford Street
               Lynbrook, NY 11563


               Mirka Guzman
               1158 Dekalb Ave, 1L
               Brooklyn, NY 11221


               Nelly Guzman
               1158 Dekalb Ave, 1L
               Brooklyn, NY 11221


               New York City Economic Development Corp.
               One Liberty Plaza
               New York, NY 10006
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               NYC Department of Finance
               Office of Legal Affairs
               375 Pearl Street, 30th Floor
               New York, NY 10038


               NYS Dept. of Tax & Finance
               POB 5300
               Bankruptcy Unit
               Albany, NY 12205-0300


               NYS Dept. Taxation & Finance
               Bankruptcy Unit - TCD
               Building 8, Room 455
               W.A. Harriman State Campus
               Albany, NY 12227


               Office of the Attorney General
               The Capitol
               Albany, NY 12224-0341


               Office of the Attorney General
               55 Hanson Place Suite 1080
               Brooklyn, NY 11217-1523


               Office of the Corporation Counsel
               Attn: James E. Johnson
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               New York, NY 10007


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               Rockville Centre, NY 11570


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               Long Island City, NY 11101


               Paul Goodman
               Pier 79/451 12th St
               New York, NY 10018


               Paul Lattanzio
               7 Lincoln Woods
               Purchase, NY 10577
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               Philip Herschenfeld
               167 E. 67th St.
               New York, NY 10065


               Philip Radiotes
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               Ridgewood, NY 11385


               Phyllis Herschenfeld
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               Brooklyn, NY 11206


               Rachel Moldauer
               98 Wyckoff St Apt 2L
               Brooklyn, NY 11201


               Ray George
               313 Hicks St., #3
               Brooklyn, NY 11201


               Renhan Su
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               Flushing, NY 11354


               RGC Coffee
               1330 Greene Avenue, 2nd Floor
               Westmount, Quebec H3Z 2B1


               Richard Bergeron
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               Brooklyn, NY 11211


               Richard Turner
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               Brooklyn, NY 11219


               Rob Herschenfeld
               304 Boerum St., Apt 21
               Brooklyn, NY 11206


               Royal New York
               661 Hadley Road
               South Plainfield, NJ 07080
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               Sandy Stillman
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               New York, NY 10011


               Scott Hahn
               148 N. 10th St, 6D
               Brooklyn, NY 11249


               Seon Wilson
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               Union City, NJ 07087


               Steven Jewett
               1868 E. 35th St.
               Brooklyn, NY 11234


               Sustainable Harvest Coffee Imports
               322 NW 8th Ave
               Portland, OR 97209


               Tae Lee
               50-41 203rd Street
               Oakland Gardens, NY 11364


               TD Bank
               PO Box 9223
               Farmington Hills, MI 48333


               Thomas D Potter
               349 Degraw Street #3
               Brooklyn, NY 11231


               Todd Phin
               25 Lincoln Pl, Apt 1
               Brooklyn, NY 11217


               Tshesofatso Ragophala
               334 Decatur Street
               Brooklyn, NY 11233


               United States Attorney's Office
               Eastern District of New York
               Attn: James R. Cho
               271-A Cadman Plaza East
               Brooklyn, NY 11201-1820
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               Victor Estrada
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               New York, NY 10010


               Vidrik Frankfather
               2054 Benvenue Ave
               Berkeley, CA 94705


               Vito Lombardo
               100 Jay St., 14 #C
               Brooklyn, NY 11201


               Wells Fargo
               PO Box 1433
               Des Moines, IA 50306-1433


               William Wachtel
               341 Whippoorwill Rd
               Chappaqua, NY 10514
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Brooklyn Roasting Works, LLC                                                                    Case No.
                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Brooklyn Roasting Works, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 21, 2020                                                      /s/ Tracy L. Klestadt
 Date                                                                  Tracy L. Klestadt
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Brooklyn Roasting Works, LLC
                                                                       Klestadt Winters Jureller Southard & Stevens, LLP
                                                                       200 West 41st Street
                                                                       17th Floor
                                                                       New York, NY 10036-7203
                                                                       (212) 972-3000 Fax:(212) 972-2245
                                                                       tklestadt@klestadt.com




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                                 WRITTEN CONSENT
                            OF THE MANAGING MEMBER OF
                           BROOKLYN ROASTING WORKS LLC

       The undersigned managing member of Brooklyn Roasting Works LLC d/b/a Brooklyn
Roasting Company (the “Company”), a New York limited liability company, adopted the
following resolutions by unanimous written consent in lieu of a meeting:
       Following a review, discussion and careful consideration of the Company’s financial
condition;

         WHEREAS, in the judgment of the Company it is desirable and in the best interest of the
Company, its creditors, members and other interested parties, that a petition be filed by the Company
for relief under Subchapter V of Chapter 11 of Title 11 of the United States Bankruptcy Code (the
"Bankruptcy Code"); it is hereby

       RESOLVED, that the Company be, and hereby is, authorized to file a Petition for relief
under the Bankruptcy Code, in the United States Bankruptcy Court for the Eastern District of
New York (the “Bankruptcy Court”) and perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper or necessary to effect any of the foregoing; and it is

        FURTHER RESOLVED, that the Company be, and hereby is, authorized to cause the
filing of petitions for relief under the Bankruptcy Code in the Bankruptcy Court and to perform
any and all such acts as are reasonable, advisable, expedient, convenient, proper or necessary to
effect any of the foregoing, for each of its following subsidiary entities: (i) BRC Powerplant
LLC, (ii) BRC Powerplant Building 123, LLC, (iii) BRC Powerplant 45 Washington, LLC, and
(iv) Brooklyn Roasting Company Powerplant LLC (collectively, the “Petitions”); and it is

        FURTHER RESOLVED, that Thomas Potter (“Manager”), shall be, and hereby is,
authorized, directed and empowered on behalf of, and in the name of, the Company to: (a)
prepare, execute and verify the Petitions and all other ancillary documents, and cause the
Petitions to be filed with the Bankruptcy Court and make or cause to be made prior to execution
thereof any modifications to the Petitions or ancillary documents, in his discretion, that he deems
necessary or desirable to carry out the intent and accomplish the purposes of these resolutions;
(b) prepare, execute, verify and file or cause to be filed all petitions, schedules, statements, lists,
motions, applications and other papers or documents necessary or desirable in connection with
the foregoing; and (c) prepare, execute and verify any and all other documents necessary or
appropriate in connection therewith or to administer the Company’s chapter 11 cases, including
without limitation prepare the Company’s plan and reporting requirements of Subchapter V of
Chapter 11 case, as required by applicable bankruptcy rules and United States Trustee
Guidelines, in such form or forms as they may approve in their reasonable discretion;

        FURTHER RESOLVED, that the Manager, shall be, and is, authorized, directed and
empowered to retain, on behalf of the Company, Klestadt Winters Jureller Southard & Stevens,
LLP, as general bankruptcy counsel in connection with the Company’s chapter 11 cases and
other related matters, on such terms as the Manager may approve in his reasonable discretion;

                                                  1
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      FURTHER RESOLVED, that the Manager be, and hereby is, authorized, directed and
empowered on behalf of, and in the name of, the Company to retain such other professionals as
may be necessary, in his reasonable discretion, to assist the Company in its chapter 11 cases.

        FURTHER RESOLVED, that the firms set forth above and any additional professionals
selected by the Manager be, and hereby are, authorized, empowered and directed to represent the
Company, as debtor, in connection with any chapter 11 case commenced by it under the
Bankruptcy Code;

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken or to be
taken in connection with the implementation of these resolutions in all respects are hereby
ratified, confirmed and approved.

       IN WITNESS WHEREOF, the undersigned, being the Managing Member of the
Company, does hereby execute this consent as of October 19, 2020.


                                           MANAGER AND MEMBER:

                                           /s/ Thomas D. Potter
                                           Thomas D. Potter




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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Brooklyn Roasting Works, LLC                                               CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: BRC Powerplant 45 Washington, LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         Subsidiary

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: BRC Powerplant Building 123, LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         Subsidiary

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:




                                                                                   (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)


3. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: BRC Powerplant, LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         Subsidiary

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


4. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: Brooklyn Roasting Company Powerplant, LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         Subsidiary

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y




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DISCLOSURE OF RELATED CASES (cont'd)


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Tracy L. Klestadt
 Tracy L. Klestadt
 Signature of Debtor's Attorney                                                       Signature of Pro Se Debtor/Petitioner
 Klestadt Winters Jureller Southard & Stevens, LLP
 200 West 41st Street
 17th Floor
 New York, NY 10036-7203                                                              Signature of Pro Se Joint Debtor/Petitioner
 (212) 972-3000 Fax:(212) 972-2245

                                                                                      Mailing Address of Debtor/Petitioner


                                                                                      City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




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